 

 

Case 4:14-cV-02497 Document 8 Filed in TXSD on 01/05/15 Page 1 of 2

MWI§?;§JM»
Antwan Henry
11939 Canyon Valley Dr. JAN 05 2015
Tomball TX 77377-7636
(281) 995-7735 D“"dJ-Bndl»y. marcus
IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF TEXAS HOUSTON
DIVISION
Antwan Henry, Case No.: 4:14-CV-O2497
Plaintiff,
Ex Parte
vs.
EMERGENCY
APPLICATION FOR TEMPORARY
RESTRAINING ORDER

BANK OF AMERICA, N.A.,

AS SUCCESSOR BY MERGER TO
BAC HOME LOANS SERVICING, LP
TRUSTEE SERVICES, INC.;

THE BANK OF NEW YORK AS TRUSTEE
FORTHE CERTIFICATEHOLDERS CWABS,
INC. ASSET-BACKED CERTIFICATES,
SERIES 2006-5;

Honorable Sim Lake, Presiding
WALTER INVESTMENT
MANAGEMENT CORP;
[Complaint Filed 08/29/2014] GREEN
GREEN TREE LGAN SERVICING, LLC,

BARRETT,DAFFIN,FRAPPIER TURNER&
ENGEL, LLP, ISAOA ATIMA

Defendants.

\/V\'/V\/\/ \_/\/\/\/\/\/\/\/\/VV\./\/V\/\./\/\/\./\./V\./\./\-/\/

 

Case 4:14-cV-O2497 Document 8 Filed in TXSD on 01/05/15 Page 2 of 2

CERTIFICATION

The undersigned hereby certifies that prior to filing this motion I attempted to confer with
attorneys for Def`endants Bank of America, N.A. and Green Tree Servicing LLC, however they did
not return my phone calls or faxes. See Declaration of` Antwan Henry in Support of` Plaintiff’ s Ex
Parte Emergency Application for Temporary Restraining Order, filed contemporaneously
herewith.

APPLICATION

Plaintif`f Antwan Henry hereby submits Ex Parte Emergency Application for Temporary
Restraining Order to stop Def`endants from selling, at a foreclosure sale currently scheduled for
January 6, 2015 at 1:00 pm, of` Plaintif`f’s home, at 11939 Canyon Valley Dr, Tomball TX
77377-7636, legally described as:

LOT ONE (l), lN BLOCK TWO (2), OF CANYON GATE AT NORTHPOINTE,

SECTION TWO (2), AN ADDITION IN HARRIS COUNTY, TEXAS

ACCORDING TO THE MAP OR PLAT THEREOF RECORDED UNDER FILM

CODE NO. 404083 OF THE MAP RECORDS OF HARRIS COUNTY, TEXAS.

This application is supported by Plajntiff` s Memorandum in Support of Ex Parte
Emergency Application for Temporary Restraining Order, and the Declaration of` Antwan Henry in

Support of Plaintiff’s Ex Parte Emergency Application for Temporary Restraining Order, filed

contemporaneously herewith.

Executed on: January 5, 2015 /s/ Antwan Henry
Antwan Henry, Plaintiff Pro Per
11939 Canyon Valley Drive
Tomball, TX 77377

email: onpaone@gmail.com

EX PARTE EMERGENCY APPLICATION FOR TEMPORARY RESTRAINING ORDER 2

